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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

  IN RE:                                           §
                                                   §
  ALLTEX REFINERY LLC                              §       CASE NO. 21-51199 CAG
                                                   §            CHAPTER 11


     MOTION OF CTO INVESTMENTS, INC. AND NOTRE DAME INVESTORS, INC. TO
                        APPOINT CHAPTER 11 TRUSTEE
                   This pleading requests relief that may be adverse to your interest

    If no timely response is filed within 21 days from the date of service, the relief requested
                      herein may be granted without a hearing being held.

                     A timely filed response is necessary for a hearing to be held.

  TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:
           COMES NOW, CTO Investments, Inc. and Notre Dame Investors, Inc. (collectively,

  “Creditors”) and move the Court (“Motion”) for an order appointing a chapter 11 trustee and

  represent:

           1.      The Creditors desire for a chapter 11 trustee to be appointed.

           2.      11 USC §1104 governs the appointment of a chapter 11 trustee. It provides the

  following:

                At any time after the commencement of the case but before confirmation of a plan, on
                request of a party in interest or the United States trustee, and after notice and a hearing,
                the court shall order the appointment of a trustee

                   (1)     for cause, including fraud, dishonesty, incompetence, or gross
                           mismanagement of the affairs of the debtor by current management, either
                           before or after the commencement of the case, or similar cause, but not
                           including the number of holders of securities of the debtor or the amount of
                           assets or liabilities of the debtor; or
                   (2)     if such appointment is in the interests of creditors, any equity security
                           holders, and other interests of the estate, without regard to the number of
                           holders of securities of the debtor or the amount of assets or liabilities of the
                           debtor.
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          3.     Appointment of a chapter 11 trustee is appropriate. The standard set for appointing

  a chapter 11 trustee is flexible. In re Ionosphere Clubs, Inc., 113 B.R. 164, 168 (Bankr. S.D.N.Y.

  1990)

          4.     The Debtor was created on July 11, 2017 when its Certificate of Formation was

  filed with the Texas Secretary of State. See Exhibit “A”.

          5.     It’s business purpose is broadly stated to include “any and all lawful business for

  which limited liability companies may be organized . . .” Further, it was created for the purpose

  of “treatment and on-site storage of crude oil”. See Exhibit “A”.

          6.     In July of 2020, it assumed the name “Alltex Refinery Acquisition Fund”. See

  Exhibit “B”.

          7.     It appears that the Debtor has business operations. Those operations appear to

  include:

          i.     Buying and selling petroleum products (See exhibit “C”, affidavit of Roland ),
          ii.    Using an assumed name to engage in business activities (See Exhibits “A” and “D”,
                 the SJR Development LLC lawsuit),
          iii.   Operating a facility to receive, store, process and ship petroleum products. (See
                 Exhibits “A” and “D”),
          iv.    Soliciting funds for a project with Katrina Energy LLC (See Exhibit “D”),
          vi.    Doing business with Katrina Energy LLC; however, there is now litigation over
                 that agreement. (See Exhibit “E”),
          vii.   Doing business with Efficient Energy Partners (See Exhibit “F”, a part of Exhibit
                 “E”)

          8.     However, the allegations in the petitions that are Exhibits “D” and “E” indicates

  that there may be avoidable transfers.

          9.     For example, in the SJR lawsuit (Exhibit “D”, paragraphs 24 through 30) it appears

  that the Debtor received $100,000, but that money was not used, apparently for the proper

  designated purpose. The Debtor has not accounted for these funds or why SJR’s contemplated
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  business involvement was never consummated, issued at least one NSF check, and has provided

  information (that may be fraudulent) concerning oil and gas purchases.

          10.     Further, on September 22, 2020, SJR provided $200,000 in financing capital to the

  Debtor to, presumably, operate its business. However, this business, which was to benefit SJR

  never, apparently, existed. The Debtor did not provide the promised 1099-MISC and K-1 Partner’s

  Share of Income, Deductions and Credits.

          11.     The Debtor refused to provide SJR with financial records after they were promised.

          12.     The allegations made in the SJR lawsuit against the Debtor and its insiders of

  fraudulent inducement, fraudulent misrepresentation and concealment, violations of the Texas

  Securities Act, violations of the Securities Exchange Act, RICO claims, violations of the Texas

  Theft Liability act, and breach of fiduciary duty are of grave concern to the Creditors.

          13.     In the Katrina litigation, Katrina claims that the Debtor defrauded it out of crude

  oil, never paid the $60,000 purchase price and passed off the financial obligation to a third party

  not related to the transaction.

          14.     Katrina claims against the Debtor and a related entity concerning common law

  fraud, fraud by non-disclosure and negligent misrepresentation are also of grave concern to the

  Creditors.

          15.     On October 1, 2021, the Creditors and an additional creditor, filed an involuntary

  petition against the Debtor (ecf 1).

          16.     The Debtor did not respond to or otherwise defend against the Involuntary Petition.

          17.     On November 8, 2021, an Order for relief was entered (ecf 5).

          18.     The Order directed the Debtor to file a matrix of creditors, schedules and statement

  of financial affairs.
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          19.     The Debtor neither abided by nor followed the Court’s Order.

          20.     The Debtor’s default and refusal to follow this Court’s order is reason enough for

  a trustee to be appointed. By its default and refusal to follow the Court’s order, the Debtor has

  proven that it is not interested in managing its business and financial affairs in a responsible manner

  and, certainly not in a manner that benefits all of its creditors equally.

          21.     Since the Debtor has defaulted and demonstrated its lack of interest in its creditors,

  it appears to be or may be operating its business, appointing a trustee is in the best interest of its

  creditors and the bankruptcy estate.

          22.     Once a chapter 11 trustee determines the status of the Debtor’s business operations,

  if a chapter 7 is warranted, then the Trustee can move to convert. In other words, it is premature

  to convert this case to one under chapter 7.

          WHEREFORE, the Creditors pray that the Court enter an order directing the Office of the

  United States Trustee to appoint, forthwith, a chapter 11 trustee and grant the Creditors such other

  and further relief, in law and in equity, as is just.

                                                          Respectfully submitted,
                                                          THE GERGER LAW FIRM, PLLC

                                                          By:/s/ Alan S. Gerger
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                                                          ATTORNEY FOR
                                                          CTO INVESTMENTS, INC. and
                                                          NOTRE DAME INVESTORS, INC.
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                                   CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing was served upon the parties
  shown below by First Class Mail, facsimile or electronically by the Clerk of the Court on
  December 1, 2021:

         Shane P. Tobin
         Office of United States Trustee
         903 San Jacinto Blvd., Room 230
         Austin, Texas 78701

         Alltex Refinery LLC
         102 Wonder World Dr., Suite 304-526
         San Marcos, Texas 78666

         Alltex Refinery LLC
         301 North Main Plaza, No. 334
         New Braunfels, TX 8130

         James B. Jameson
         P.O. Box 980575
         Houston, Texas 77098

         Lesley Services LLC
         2805 S. Hwy 42 North
         Kilgore, Texas 75662

                                                      By:/s/ Alan S. Gerger
                                                      Alan Gerger
